                                              Entered on Docket
                                              June 24, 2015
                                              EDWARD J. EMMONS, CLERK
                                              U.S. BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF CALIFORNIA


1    Prober & Raphael, A Law Corporation
     Dean R. Prober, Esq., #106207
2    Lee S. Raphael, Esq. #180030        The following constitutes
     Cassandra J. Richey, Esq. #155721 the order of the court. Signed June 24, 2015
3
     Melissa A. Vermillion, Esq. #241354
4    Joseph Garibyan, Esq. #271833
     Bonni S. Mantovani, Esq. #106353         ___________________________________________________
5    Anna Landa, Esq. #276607                 M. Elaine Hammond
     Halie L. Leonard, Esq. #265111           U.S. Bankruptcy Judge
6    Samyel Geshgian, Esq. #300470
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10   Bank of America, N.A.
11   FHAB.500-118.NF

12                             UNITED STATES BANKRUPTCY COURT

13                              NORTHERN DISTRICT OF CALIFORNIA
14                                        SAN JOSE DIVISION
15
      In re                                   )             Bk. No. 14-53564
16                                            )
      BRANDON MICHAEL CAVANAUGH AND           )             CHAPTER 7
17    KEISHA RENEE CAVANAUGH AKA              )
      KEISHA RENEE GERHARD,                   )             R.S. No. LSR – 965
18                                            )
19                Debtors.                    )             ORDER FOR RELIEF FROM
                                              )             AUTOMATIC STAY
20                                            )
                                              )             Hearing-
21                                            )             Date : June 18, 2015
                                              )             Time : 1:00 p.m.
22
                                              )             Place : U.S. Bankruptcy Court
23                                            )                     280 South First Street
                                              )                     San Jose, California
24    _______________________________________ )                     Courtroom 3070

25
              The Motion for Relief from Automatic Stay of Bank of America, N.A., its assignees
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       and/or successors in interest, came on for hearing on June 18, 2015 at 1:00 p.m., before the
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       Honorable 3070. Appearances are as set forth in the Court’s docket.
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             The Court after reviewing the pleadings and records, and after determining that GOOD
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      CAUSE exists, makes the following Order:
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             IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the Automatic Stay in the
4
      above-entitled Bankruptcy proceeding is hereby vacated and extinguished for all purposes as to
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      Bank of America, N.A., its assignees and/or successors in interest ("Secured Creditor" herein), and
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      Secured Creditor, its assignees and/or successors in interest may proceed with foreclosure of the
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      subject Property generally described as 3073 Helena Way, Marina, CA 93933, pursuant to
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      applicable statutory law, and thereafter commence any action necessary to obtain complete
9
      possession thereof.
10
             IT IS FURTHER ORDERED that Movant may enforce its remedies to foreclose upon and
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      obtain possession of the Property in accordance with applicable non-bankruptcy law, but may not
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      pursue any deficiency claim against the Debtors or property of the estate, except by filing a Proof of
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      Claim pursuant to 11 U.S.C. §501.
14
             IT IS FURTHER ORDERED that entry of this order shall be deemed to constitute relief
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      from the automatic stay as to any interest the Chapter 7 Trustee may have in the subject Property.
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             IT IS FURTHER ORDERED that the 14-day stay provided by Bankruptcy Rule 4001(a)(3)
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      is waived.
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19                                          ** END OF ORDER**

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1                                    COURT SERVICE LIST

2     ALL PARTIES SERVED VIA ELECTRONIC NOTICE.
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